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                                 CERTIFICATE OF SERVICE



       I, Maria Aprile Sawczuk, hereby certify that on July 8, 2014, I caused to have served true

and correct copies of the Motion for an Order Shortening Notice Period in Connection with

Emergency Motion for Entry of an Order Determining Applicability of the Automatic Stay to

Non-Bankruptcy Litigation Involving Certain of the Debtors and Fixing Hearing Date and

Objection Deadline on all parties of interest electronically through the Court’s CM/ECF system,

and upon the parties listed on the attached service list via first class mail, postage prepaid.



                                                       /s/ Maria Aprile Sawczuk
                                                       Maria Aprile Sawczuk
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ABRAMS & BAYLISS LLP                            BINGHAM MCCUTCHEN LLP
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AEP TEXAS NORTH COMPANY                         BLUME FAULKNER SKEEN &
ATTN: CHARLES R. PATTON                         NORTHAM PLLC
1 RIVERSIDE PLAZA                               (COUNSEL TO NATIONAL FIELD
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                                                ATTN: BRETTON C. GERARD
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EFIH UNSECURED
NOTEHOLDERS AND EFIH SECOND                     BNSF RAILWAY COMPANY
LIEN DIP COMMITMENT)                            C/O HAYNES & BOONE, LLP
ATTN: SCOTT ALBERINO;                           ATTN: IAN T. PECK, ESQ.
JOANNA NEWDECK                                  201 MAIN STREET, SUITE 2200
ROBERT S. STRAUSS BUILDING                      FORT WORTH, TX 76102-3126
1333 NEW HAMPSHIRE AVENUE, NW
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                                                (RED RIVER ENVIRONMENTAL
AMECO INC                                       PRODUCTS)
ATTN: DEAN SMITH                                ATTN: PETER O. HANSEN
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GREENVILLE, SC 29611                            LITTLETON, CO 80120

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WATER SUPPLY DISTRICT NO. 1)                    GENERATION INC.)
ATTN: LINO MENDIOLA                             ATTN: SUNDEEP S. SIDHU
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AUSTIN, TX 78701                                ORLANDO, FL 32801-4904

AUTOMATIC SYSTEMS INC                           ALCOA
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BENCHMARK INDUSTRIAL SERVICES                   AMERICAN STOCK TRANSFER & TRUST
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KILGORE, TX 75662                               6201 15TH AVENUE
                                                BROOKLYN, NY 11219
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ASHBY & GEDDES, P.A.                           AKIN GUMP STRAUSS HAUER & FELD
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SAVINGS/WSFS)                                  (COUNSEL TO AD HOC COMMITTEE OF
ATTN: WILLIAM BOWDEN ESQ &                     EFIH UNSECURED NOTEHOLDERS AND
GREGORY TAYLOR ESQ                             EFIH SECOND LIEN DIP COMMITMENT)
PO BOX 1150                                    ATTN: IRA DIZENGOFF; ABID QURESHI;
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                                               ROBERT BOLLER; CHRISTOPHER
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                                               ATTN: MICHAEL B. SCHAEDLE
                                               ONE LOGAN SQUARE
                                               130 NORTH 18TH STREET
                                               PHILADELPHIA, PA 19103
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BNSF RAILWAY COMPANY                             CIARDI CIARDI & ASTIN
ATTN: PETER LEE, SENIOR GENERAL                  (COUNSEL TO ATMOS ENERGY
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2500 LOU MENK DRIVE                              2007-1 RAILCAR LEASING LLC; RED
FORT WORTH, TX 76131-2828                        BALL OXYGEN CO.)
                                                 ATTN: DANIEL ASTIN; JOHN
BOKF, NA DBA BANK OF ARIZONA                     MCLAUGHLIN, JR.;
ATTN: CYNDI WILKINSON                            JOSEPH J. MCMAHON JR
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                                                 ATTN: RYAN FALCONER
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                                                 JEREMY COFFEY ESQ
                                                 ONE FINANCIAL CENTER
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BRYAN CAVE LLP                                   BROWN & CONNERY, LLP
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                                                 RESOURCES, LLC)
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                                                 CITIBANK, N.A.
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                                                 O'NEAL; HUMAYUN KHALID
                                                 ONE LIBERTY PLAZA
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COMPTROLLER OF PUBLIC ACCOUNTS                  DRINKER BIDDLE & REATH LLP
OF THE STATE OF TX OFFICE OF THE                (COUNSEL TO CITIBANK NA, TCEH DIP
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& JOHN MARK STERN                               WILMINGTON, DE 19801-1621
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                                                AL
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                                                ATTN: HAROLD KAPLAN ESQ, MARK
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BENJAMIN KAMINETZKY;
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                                                L. JARASHOW
                                                THE NEW YORK TIMES BUILDING
                                                620 EIGHTH AVENUE
                                                NEW YORK, NY 10018
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COUSINS CHIPMAN & BROWN, LLP                  FOX ROTHSCHILD LLP
(COUNSEL TO AD HOC COMMITTEE OF               (COUNSEL TO AD HOC GROUP OF TCEH
EFIH UNSECURED                                UNSECURED NOTEHOLDERS)
NOTEHOLDERS AND EFIH SECOND                   ATTN: JEFFREY SCHLERF; JOHN
LIEN DIP COMMITMENT)                          STROCK; L. JOHN BIRD
ATTN: SCOTT COUSINS; MARK                     919 NORTH MARKET STREET, SUITE 300
OLIVERE; ANN KASHISHIAN                       WILMINGTON, DE 19801
1007 NORTH ORANGE STREET
SUITE 1110                                    FRISCO CONSTRUCTION SERVICES
WILMINGTON, DE 19801                          ATTN: CLAY THOMAS
                                              9550 JOHN W. ELLIOTT DRIVE
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                                              BROWN, LLC
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WILMINGTON, DE 19808
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LOUIS CURCIO ESQ                              COWLES & THOMPSON
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1221 AVENUE OF THE AMERICAS                   CORPORATION)
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                                              BANK OF AMERICA PLAZA
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                                              ATTN: MICHAEL J. JOYCE
EPIQ BANKRUPTY SOLUTIONS, LLC                 PO BOX 1380
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ATTN: JAMES KATCHADURIAN, E.V.P.
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                                              MILES COWDRY,ROLLS-ROYCE CIVIL
                                              NUCLEAR,994-A EXPLORER BLVD
                                              HUNTSVILLE, AL 35806

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                                              60 WALL STREET (NYCC60-0266)
                                              NEW YORK, NY 10005-2836
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EMC CORPORATION                                   SHAW MAINTENANCE (CB&I)
C/O RECEIVABLE MANAGEMENT                         ATTN: RICHARD E. CHANDLER, JR.
SERVICES (RMS)                                    C/O CB&I - ONE CB&I PLAZA
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COCKEYSVILLE, MD 21030
                                                  SITEL LLC
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                                                  ATTN: STEPHEN D. LERNER
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ATTN: JOHN POZNICK - CONTROLLER                   221 E. FOURTH ST., SUITE 2900
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TURTLE CREEK, PA 15145
                                                  TAGGART GLOBAL LLC
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ATTN: MARK MINUTI ESQ                             ATTORNEY GENERAL
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SECURITAS SECURITY SERVICES USA                   THE BANK OF NEW YORK MELLON
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4330 PARK TCE DRIVE                               ATTN: RAFAEL MARTINEZ,VP - CSM
WESTLAKE VILLAGE, CA 91361                        601 TRAVIS STREET, 16TH FL
                                                  HOUSTON, TX 77002
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                                               TRUST COMPANY
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                                               ONE BATTERY PARK PLAZA
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                                               ATTN: STEVEN M. BURTON
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AUSTIN, TX 78704
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SKADDEN, ARPS, SLATE, MEAGHER &                 TRAVIS COUNTY
FLOM LLP                                        ATTN: KAY D. BROCK, ASSISTANT
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INFRASTRUCTURE MGMT INC.)                       PO BOX 1748
ATTN: JAY M. GOFFMAN                            AUSTIN, TX 78767
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NEW YORK, NY 10036-6522                         TUCKER ARENSBERG, P.C.
                                                (COUNSEL TO THERMO FISHER
SNELL & WILMER LLP                              SCIENTIFIC INC. AND
(COUNSEL TO HEADWATERS                          AFFILIATES AND SUBSIDIARIES)
RESOURCES, INC.)                                ATTN: JORDAN S. BLASK, LARA E.
ATTN: DAVID E. LETA                             SHIPKOVITZ
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(COUNSEL TO HENRY PRATT                         JUSTICE
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ATTN: ELIHU E. ALLINSON, III                    AMERICA, DEPT. OF AGRICULTURE,
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